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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                               PORTLAND DIVISION


 FEREYDUN TABAIAN and AHMAD                                            Case No.: 3:18-cv-326-HZ
 ASHRAFZADEH,
                                                   INTEL CORPORATION’S MOTION TO
                                   Plaintiffs,     ISSUE LETTERS OF REQUEST FOR
                                                   INTERNATIONAL JUDICIAL
        v.                                         ASSISTANCE PURSUANT TO THE
                                                   HAGUE CONVENTION ON THE
 INTEL CORPORATION,                                TAKING OF EVIDENCE ABROAD
                                  Defendant.
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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7-1(a), counsel for Defendant Intel Corporation (“Intel”) certify

that they conferred with counsel for Plaintiffs via email on July 16, 2018, and Plaintiffs do not

oppose this motion.

I.     INTRODUCTION

       Plaintiffs in this case allege infringement of U.S. Patent No. 7,027,944 (the “’944

patent”). The ’944 patent lists four inventors: Fereydun Tabaian, Ahmad Ashrafzadeh, S. Ali

Hejazi, and S. Hamed Sadati. Messrs. Tabaian and Ashrafzadeh are the plaintiffs in the case.

Inventors Hejazi and Sadati are not parties to this case. They both reside in the United Kingdom

and are not represented by Plaintiffs’ counsel. Accordingly, in order to obtain testimony and

documents for use at trial from inventors Hejazi and Sadati, Intel must proceed through the

Hague Convention on the Taking of Evidence Abroad in Civil or Commercial Matters (“Hague

Convention”), Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 231. Intel respectfully requests that,

pursuant to the Hague Convention, the Court issue a Letter of Request for International Judicial

Assistance (“Letter of Request”) to the Central Authority of England and Wales (attached here as

Exhibit 1) directing Messrs. Hejazi and Sadati to appear for deposition in the United Kingdom

and to produce documents relevant to this litigation.




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II.    ARGUMENT

       Intel’s request for issuance of the Letter of Request to the Central Authority of England

and Wales is proper because: (1) the information that Intel seeks from Messrs. Hejazi and Sadati

is relevant to this case; and (2) Intel’s requests comply with the requirements of English law.

       A.      Intel Seeks Relevant Information from Messrs. Hejazi and Sadati

       It is standard in patent infringement cases to depose and obtain discovery from the named

inventors of the asserted patent. Testimony from named inventors is relevant to, among other

things, the conception and reduction to practice of the alleged invention, the alleged novelty of

the claimed invention over the prior art, the prosecution of the application that led to the issuance

of the patent, the scope of the alleged invention claimed in the patent, and the worth of the

patent. See Dynetix Design Sols. Inc. v. Synopsys Inc., No. 11-05973, 2012 WL 5943105, at *2

(N.D. Cal. Nov. 27, 2012) (inventor’s testimony is relevant to “at least the issues of the written

description, enablement, inequitable conduct, novelty, obviousness, and damages”); Metso

Minerals Inc. v. Powerscreen Int’l Distribution Ltd., No. 06-1446, 2007 WL 1875560, at *3

(E.D.N.Y. June 25, 2007) (testimony of inventor residing abroad is “relevant to the instant

litigation and the plaintiff’s claim of patent infringement”); Abbott Labs. v. Impax Labs., Inc.,

No. 03-120, 2004 WL 1622223, at *2 (D. Del. July 15, 2004) (testimony of named inventor is

“par for the course in any patent litigation.”).

       Intel has narrowly tailored the Letter of Request to seek information that is relevant to the

litigation. The topics for deposition (listed in Schedule B of the Letter of Request) and the

requested documents (listed in Schedule A) are relevant to the parties’ claims and defenses. For

example, Intel seeks testimony relevant to the development, scope, and alleged use of the alleged

invention (see Schedule B topics 1-8, 14, 16-17), any alleged novelty of the claimed invention


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(id. topics 3-6, 15), the worth of the alleged invention and amounts paid to transfer and license

the patent (id. topics 10-13, 19), any discussions with Intel regarding the asserted patent (id.

topic 9), and discussions regarding this litigation (id. topic 18).

       B.      Intel’s Requests Comply with English Law

       Intel’s requests for documents and testimony also comply with the requirements of

English law. English courts have required requests for documents to seek particular documents

likely to be in the witness’s possession. (Exhibit 2, The Evidence (Procedure in Other

Jurisdictions) Act 1975; Exhibit 3, In re Asbestos Insurance Coverage Cases [1985] 1 WLR

331). English courts have also held that Letters of Request will not be granted for purely

“investigatory” purposes and should instead seek documents that will be relevant for use at trial.

(Exhibit 4, Allergan v Amazon Medica [2018] EWHC 307 (QB)). Intel’s requests for documents

meet these standards.

       Intel seeks only two categories of documents from inventors Hejazi and Sadati. First,

Intel seeks documents relating to conception and reduction to practice of the invention claimed in

the ’944 patent. This includes laboratory notebooks, inventor notes, and memoranda that record

the development of the alleged invention. These documents are relevant to show what inventors

Hejazi and Sadati conceived, the scope of their alleged invention, and the dates of conception

and reduction to practice. As named inventors on the patent, Messrs. Hejazi and Sadati can be

expected to have these documents. Second, Intel seeks documents relating to the ownership of

the ’944 patent, including any assignments, transfers, or licenses of the ’944 patent. These

documents are relevant to the worth and value of the alleged invention. Both Messrs. Hejazi and

Sadati appear to have assigned their interest in the ’944 patent and thus can be expected to have

these materials.


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       Intel also has structured the topics of examination of Messrs. Hejazi and Sadati to comply

with English law. As set forth above, each of the topics on which Intel seeks to examine Messrs.

Hejazi and Sadati is relevant to the parties’ claims and defense in this case. See supra page 3.

Intel seeks to examine Messrs. Hejazi and Sadati by September 2018 and no later than November

2018. This schedule is appropriate because claim construction discovery must be completed by

December 5, 2018. See Dkt. 51. It is standard in patent cases to depose inventors of the asserted

patent before the completion of claim construction briefing so the parties can include evidence

and testimony from the inventors in their claim construction arguments. Because the topics of

examination are relevant to issues beyond claim construction, if it should prove impossible to

schedule the examination in accordance with the timing set out above, Intel asks that the

examination proceed as soon as possible. Intel also seeks to examine Messrs. Hejazi and Sadati

for 7 hours each (with each examination to completed within one day). This is standard. See

Fed. R. Civ. P. 30(d)(1). Finally, Intel has included in the Letter of Request a provision

permitting cross-examination and leading questions during the examination of Messrs. Hejazi

and Sadati. English cases and procedure provide that English courts may permit cross-

examination and leading questions if requested by the court issuing the Letter of Request.

(Exhibit 5, Microtechnologies v Autonomy [2017] EWHC 613 (QB); Exhibit 6, Civil Procedure

Rules, Part 34 (Witnesses, Depositions, and Evidence for Foreign Courts)). Cross-examination

and leading questions are typical in this jurisdiction during the examination of the inventors of an

asserted patent and should be permitted during examination of the inventors in the United

Kingdom.

III.   CONCLUSION




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       For the foregoing reasons, Intel respectfully requests that the Court issue the

accompanying Letter of Request to the Senior Master of the Queen’s Bench Division, Royal

Courts of Justice (England and Wales).

DATED: July 16, 2018

                                              Respectfully submitted,

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